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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

KINSALE INSURANCE COMPANY,                  )
                                            )
               Plaintiff,                   )
                                            )       Case No. 23 CV 3739
       v.                                   )
                                            )
NATIONAL UNDERGROUND                        )
SYSTEMS, INC.; AXS POINTS                   )
PARTNERS, LLC; COMCAST OF                   )
ILLINOIS I, INC. d/b/a COMCAST; and         )
NORTH SHORE GAS COMPANY,                    )
                                            )
               Defendants.                  )


                           NOTICE OF DISMISSAL
            AS TO DEFENDANTS AXS POINTS PARTNERS AND COMCAST
                          OF ILLINOIS I, INC. ONLY

       NOW COMES Plaintiff, KINSALE INSURANCE COMPANY (“Kinsale”), by and

through undersigned counsel of record, and hereby files this Notice of Dismissal as to Defendants

AXS Points Partners, LLC, and Comcast of Illinois I, Inc. d/b/a Comcast Only pursuant to Fed. R.

Civ. P. 41(a), as follows:

       1.      Kinsale filed the above-captioned declaratory judgment action to seek a

determination that the insurance policy it issued to National Underground Systems, Inc.

(“National”), policy number 0100094499-1, does not provide coverage to National for claims

asserted against it in an underlying lawsuit styled North Shore Gas Company v. National

Underground Systems, Inc., et al., Case No. 2022 LA 000058, filed in the Circuit Court of the

Nineteenth Judicial Circuit, Lake County, Illinois (the “North Shore Lawsuit”);

       2.      Defendants AXS Points Partners, LLC (“AXS Points”) and Comcast of Illinois I,

Inc. d/b/a Comcast (“Comcast”) asserted claims as additional insureds under the Kinsale Policy




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issued to National and were named in this declaratory judgment action so that they may be bound

by the Court’s judgment in this case.

          3.   Defendant AXS Points has not yet filed an answer or other responsive pleading in

this case.

          4.   Defendant Comcast has not yet filed an answer or other responsive pleading in this

case.

          5.   Defendants AXS Points and Comcast have agreed and stipulated to retroactively

and irrevocably withdraw its or their tender of defense of the North Shore Lawsuit to Kinsale, and

further do not desire to litigate Kinsale’s coverage obligations under the Kinsale Policy. See

Withdrawal of Tender attached as Exhibit A.

          6.   In light of AXS Points and Comcast’s withdrawal of tender, there no longer remains

an actual, justiciable dispute between Plaintiff and Defendants AXS Points and Comcast in this

matter.

          7.   Therefore, Plaintiff agrees to dismiss Defendants AXS Points Partners, LLC, and

Comcast of Illinois I, Inc. d/b/a Comcast only from this action, without prejudice, with each party

to bear their own costs.

          8.   This voluntary dismissal applies only to Defendants AXS Points Partners, LLC,

and Comcast of Illinois I, Inc. d/b/a Comcast, and does not apply to any claims asserted by Kinsale

against Defendant National Underground Systems, Inc., any other party.



Dated this 24th day of July, 2023.



By: ____/s/ Jason M. Taylor___________________
    Attorney for Kinsale Insurance Company

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                               CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Notice of Dismissal as to Defendant North Shore Gas
Company was filed electronically this 24 day of July, 2023, with the Court’s ECF/CM System,
which will provide electronic notice to all parties of record.


                                                   /s/ Jason M. Taylor
                                                   ________________________




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